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                           UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK


Adria English
                                                     Civil Action No. 24-CV-05090-AT

                            Plaintiff,

                vs.

Sean Combs, et. al.

                            Defendants.




                     MEMORANDUM OF LAW IN SUPPORT OF
                  MOTION TO WITHDRAW AS COUNSEL OF RECORD




By:
Ariel Mitchell-Kidd, Esq.                                   Steven A. Metcalf II, Esq.
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           The Law Office of Ariel Mitchell, P.A., Ariel Mitchell-Kidd, Esq., Metcalf & Metcalf
and Steven Metcalf II, Esq. (collectively, <Attorneys=) respectfully submit this Memorandum of
Law in support of its Motion, pursuant to Local Civil Rule 1.4, to withdraw as counsel of record
for Plaintiff Adria English (<Plaintiff=).


                                       PRELIMINARY STATEMENT

           Attorneys respectfully moves the Court to withdraw them as counsel for Plaintiff at
this early phase of this case4based on numerous <satisfactory reasons= for withdrawal
under Local Civil Rule 1.4. First, the Plaintiff has provided conflicting instructions that
make it unreasonably difficult for Attorneys to effectively represent the Plaintiff. Second,
there has been a breakdown in the Attorney-Client relationship between Attorneys and the
Plaintiff. Third, there are irreconcilable differences with Attorneys and Plaintiff. Fourth,
Plaintiff violated an Agreement between Plaintiff and Counsel signed on Tuesday,
September 24, 2024 on Thursday, September 26, 2024.1 Under these circumstances, it is
impossible for Attorneys to serve as the Plaintiff9s counsel in this case.
           It bears emphasis that Attorneys9 withdrawal as Plaintiff9s counsel will cause no
prejudice. This case is in its infancy. Defendants have not even been served Plaintiff9s
Complaint. The Court recently Ordered that the Plaintiff file its joint letter and proposed
case management plan by October 1, 2024.2 Undersigned counsel has filed a Motion for
Extension of Time regarding the case management plan. Additionally, Attorneys are
requesting an ex-parte conference with the Court to discuss the basis which has caused
Attorneys9 withdrawal.
           Attorneys are asserting a retaining and/or charging lien against Plaintiff in
connection with this case, if it should continue in this Court, to recover all unpaid quantum
meruit fees and expenses owed Attorneys, including fees and costs Plaintiff owes to
Attorneys for services provided in connection with this case and other matters.
           Accordingly, Attorneys respectfully requests that the Court enter an Order relieving
Attorneys as counsel for Plaintiff.




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    A copy of that Agreement can be provided to the Court in an ex-parte hearing.
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    ECF 25


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                                    STATEMENT OF FACTS

          The facts relevant to this motion are set forth in the accompanying declaration of
Ariel Mitchell-Kidd, Esq. and Steven Metcalf, Esq.

                                            ARGUMENT

Local Civil Rule 1.4 provides, in full, as follows:

           An attorney who has appeared as attorney of record for a party may be relieved or
           displaced only by order of the Court and may not withdraw from a case without leave of
           the Court granted by order. Such an order may be granted only upon a showing by
           affidavit or otherwise of satisfactory reasons for withdrawal or displacement and the
           posture of the case, including its position, if any, on the calendar and whether or not the
           attorney is asserting a retaining or charging lien. All applications to withdraw must be
           served upon the client and (unless excused by the Court) upon all other parties.

       <When considering whether to grant a motion to be relieved as counsel, 8district courts
analyze two factors: the reasons for withdrawal and the impact of the withdrawal on the timing
of the proceeding.9= TufAmerica, Inc. v. Codigo Music LLC, No. 11 Civ. 1434 (ER), 2017 WL
3475499, at *5 (S.D.N.Y. Aug. 11, 2017).

  I.      THERE ARE FOUR INDEPENDENT AND SATISFACTORY REASONS TO
          GRANT ATTORNEYS9 REQUEST TO WITHDRAW AS THE PLAINTIFF9S
          COUNSEL

       Attorneys9 request to withdraw is based on four independent grounds, each of which
constitutes a <satisfactory reason= for a Motion for Withdrawal under Local Civil Rule 1.4.

             a. First, the Plaintiffs have provided conflicting instructions that make it
                unreasonably difficult for Attorneys to effectively represent the Plaintiff.

          A lawyer may also <seek to withdraw [from a case] when the client renders it
unreasonably difficult for the lawyer to carry out such employment effectively.= Farmer v. Hyde
Your Eyes Optical, Inc., 60 F. Supp. 3d 441, 445 (S.D.N.Y. 2014) (citation omitted); accord
Ramgoolie v. Ramgoolie, No. 16-CV-3345 (VEC)(SN), 2020 WL 8838048, at *1 (S.D.N.Y. June
24, 2020). Here, that is precisely what has happened because Plaintiff has provided Attorneys
conflicting instructions. To protect attorney-client privilege, we will not go into detail here as to
the ever-evolving and conflicting demands and requests Plaintiff has made of Attorneys as it


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pertains to the claims raised in this case, as well as what Attorneys were instructed to relay to
Defendants and other third-parties. Accordingly, this is another independent and <satisfactory
reason= to grant Attorneys9 Motion to Withdraw as Plaintiff9s counsel.

           b. Second, there has been a breakdown in the attorney-client relationship
              between Attorneys and the Plaintiff.

       There has also been a breakdown of the Attorney-Client relationship between Attorneys
 and Plaintiff because (i) Plaintiff has provided Attorneys conflicting instructions and (ii) there
 are irreconcilable differences between Attorneys and the Plaintiff. This constitutes a
 <satisfactory reason= for withdrawal under Local Civil Rule 1.4. See Nikonov v. Flirt NY, Inc.,
 No. 1:19-cv-07128 (SDA), 2021 WL 4198231, at *2 (S.D.N.Y. Sept. 14, 2021) (<Satisfactory
 reasons for withdrawal include, for example, an acrimonious relationship developing between
 the law firm and the Plaintiff =); see also Ameruso v. City of New York, No. 15-CV-03381 (RA)
 (BCM), 2016 WL 1697602, at *2 (S.D.N.Y. Apr. 27, 2016) (<A deterioration in the Attorney-
 Client relationship can provide adequate ground for withdrawal even where the client objects=).
       Accordingly, the Court must grant Attorneys9 Motion to Withdraw as Plaintiff9s counsel.

           c. Third, there are irreconcilable differences with Plaintiff.

       Under Rule1.16(c)(4) of The New York State Rules of Professional Conduct, a lawyer
may withdraw from representation where <the client insists upon taking action with which the
lawyer has a fundamental disagreement.= Furthermore, under Rule 1.16(c)(7), the lawyer may
withdraw where <the client fails to cooperate in the representation or otherwise renders the
representation unreasonably difficult for the lawyer to carry out employment effectively.=
       <8[T]he existence of an irreconcilable conflict between attorney and client is a proper
basis for the attorney to cease representing his client.9= Bijan Karimian v. Time Equities, Inc.,
No. 10 Civ. 3773, 2011 U.S. Dist. LEXIS 51916, at *4- *5 (S.D.N.Y. May 11, 2011) (citations
omitted); Dowler v. Cunard Line Ltd., No. 94 Civ. 7480, 1996 U.S. Dist. LEXIS 9100 (S.D.N.Y.
June 28, 1996) (permitting withdrawal on the grounds that <strong evidence of a strained
attorney-client relationship regardless of the source of the strain is sufficient grounds= for an
attorney to withdraw); McGuire v. Wilson, 735 F. Supp. 83, 85 (S.D.N.Y. 1990) (allowing
attorney to withdraw because <relationship between the parties has deteriorated beyond repair=);
Hallmark Capital Corp. v. Red Rose Collection, No. 1997 U.S. Dist. LEXIS 16328, at *8-*9


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(S.D.N.Y. Oct. 21, 1997) (<[T]he client and counsel have irreconcilable differences, that is a
satisfactory reason to allow counsel to withdraw.=).
       Withdrawal has been permitted where <an irreconcilable conflict developed between
[counsel and client] regarding litigation strategy.= Hallmark Capital Corp., 1997 U.S. Dist.
LEXIS 16328 (quoting Tufano v. City of New York, No. 94 Civ. 8655, 1996 WL 419912 at *1
(S.D.N.Y. July 25, 1996); citing Sansiviero v. Sanders, 117 A.D.2d 794, 795, 499 N.Y.S.2d 431,
431 (2d Dep9t) (motion to withdraw granted in <light of the irreconcilable differences between=
counsel and his client <with respect to the proper course to be pursued by counsel in the
litigation=); see also Casper v. Lew Lieberbaum & Co., 1999 U.S. Dist. LEXIS 7779 (S.D.N.Y.
May 24, 1999) (permitting withdrawal where plaintiffs and original counsel disagreed about
litigation strategy, the value of the case, [and] the strength of the case). Furthermore, <counsel
ethically can withdraw where the client insists upon a course of conduct that is contrary to the
judgment and advice of counsel.= Ashcroft v. Dep9t of Corr., 2008 U.S. Dist. LEXIS 73624, 14-
16 (W.D.N.Y. Sept. 18, 2008) (citing N.Y.S. Code of Prof. Responsibility, EC 7-8). Withdrawal
was also allowed where disagreement over witnesses arose. Whiting v. Lacara, 187 F.3d 317,
322 (2d Cir. 1999) (granted motion for withdrawal where client did not pay fees and the attorney
and client disagreed over pressing claims already dismissed and which witnesses to call).
       As a result of a fundamental disagreement between Attorneys and Plaintiff regarding
almost every aspect of the litigation, including settlement demands, causes of actions in the
pleadings and Plaintiff9s undermining behavior and questionable antics an irreconcilable conflict
and tension has developed between Plaintiff and Attorneys.         Recent communications with
Plaintiff, in particular, were heated and contentious and was emblematic of previous conflicts
between Plaintiff and Attorneys where Plaintiff was warned about her tone and lack of respect.
This made it clear that there has been a significant erosion of the Attorney-Client relationship.
Plaintiff and Attorneys have extremely diverging and irreconcilable views with respect to the
appropriate strategy to employ in this litigation and the resources which must be devoted in
prosecuting this lawsuit. Accordingly, Plaintiff9s destructive and undermining actions have
seriously impaired Attorneys9 ability to represent her.




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           d. Fourth, Plaintiff violated an Agreement between Plaintiff and Counsel
              signed on Tuesday, September 24, 2024 on Thursday, September 26,
              2024.

       After being warned several times by Attorneys about Plaintiff9s tone and lack of respect
and Plaintiff9s continued behavior and self-destructive activities, Attorneys tried to mitigate
further damage Plaintiff was causing her case, and herself. Attorneys and Plaintiff therefore
entered into a separate Agreement on September 24, 2024, in an attempt to prevent Plaintiff from
continuously undermining Attorneys9 efforts and her overall case. Plaintiff subsequently
breached that Agreement on September 26, 2024, thereby forcing Attorneys to have no other
choice but to withdraw. It should be noted that even after breaching the Agreement and being
told Attorneys would no longer represent Plaintiff due to the breach, Plaintiff continued to text
Attorneys as if nothing had happened. Attorneys were recently contacted by another law firm
who Plaintiff contacted for representation, after Plaintiff violated the Agreement on September
26, 2024 causing Attorneys9 withdrawal, and therefore should not object and/or protest to the
Court9s the withdrawal of Attorneys as Counsel of Record.
           e. Withdrawal of Counsel Will Not Prejudice Plaintiffs

       Plaintiff will not be prejudiced by Attorneys withdrawal as counsel. There are currently
pending deadlines on the docket of October 1st, which has been requested by Motion to be
extended if the Court believes this case should continue after Attorneys9 have the opportunity to
have an ex-parte hearing with the Court. Further, Plaintiff has sought new counsel who is
deciding on whether or not they will continue with the case given the Court9s decision after the
ex-parte hearing.




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                                         CONCLUSION

       In an effort not to prejudice Plaintiff, Attorneys have intentionally left out key details and
examples of Plaintiff9s actions which led to Attorneys decision to withdraw as counsel.
Attorneys believe the Court must hear these details and hereby respectfully requests that the
Court hold an ex-parte hearing so the Attorneys may share the undisclosed details off the record.
       For the foregoing reasons, Attorneys from The Law Office of Ariel Mitchell, P.A. and
Metcalf and Metcalf, Ariel Mitchell-Kidd and Steven Metcalf II respectfully requests that the
Court grant their Motion to Withdraw as counsel of record for Plaintiff.


                                                                      Respectfully submitted,
Dated: New York, New York
October 1, 2024                                      The Law Office of Ariel Mitchell, P.A.


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